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KL U.S. DISTRICT COURT
‘ Gh NORTHERN DISTRICT OF TEXAS
QR IN THE UNITED STATES DISTRICT COURT FILED | ~
FOR THE NORTHERN DISTRICT OF TEKAS =
DALLAS DIVISION *:
JUL 2 8 2008 a
FEDERAL APD INCORPORATED, , CLERK. we os TRICT COURT
y- Deputy
Plaintiff,
CASE NO.

Vv.

DALLAS/FORT WORTH 3- 08 cCV12 83-F

INTERNATIONAL AIRPORT BOARD,

Defendant.

COMPLAINT

Federal APD Incorporated ("Federal APD") brings this Complaint against the Dallas/Fort

Worth International Airport Board (the "Airport") and alleges as follows:
NATURE OF THIS ACTION
1.

Federal APD and the Airport entered into a $19 million contract whereby Federal APD
would design, manufacture, and deploy an automated parking system at the Dallas/Fort Worth
International Airport pursuant to written specifications prepared by the Airport. This action arises
from the Airport's material breach of this contract. Throughout the course of the automated parking
system project, Federal APD performed its contractual obligations, but the Airport, time and again,
refused to accept work that substantially complied with the contractual requirements, insisted that
Federal APD perform additional work not required by the contract as a condition precedent to the
next phase of the project, and demanded that Federal APD submit to unnecessary and duplicative
tests and reviews not contemplated by the contract, all without compensation and extensions of the

time for Federal APD to complete the automated parking system. The Airport also expanded the
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scope of the work beyond the work required by the contract, requiring Federal APD to perform
substantial additional work and incur great additional expense. As a result, the Airport has hindered
and delayed Federal APD in the completion of the automated parking system, and the Airport has
put Federal APD to unnecessary and unreasonable expense. Moreover, the Airport has refused to
pay Federal APD amounts to which it is entitled under the contract and for the increased scope of
work that the Airport demanded. The Airport has materially breached the contract, and Federal APD
brings this action to recover the damages to which it is entitled under the contract, as well as an
equitable adjustment of the contract price to fairly compensate Federal APD for the out-of-scope
work the Airport required it to perform.
THE PARTIES
2.

Federal APD is a corporation organized pursuant to the laws of Michigan and maintains its
principal place of business in Michigan. For purposes of 28 U.S.C. § 1332, Federal APD is a citizen
of Michigan.

3.

Federal APD is an international leader in the design, manufacture, and deployment of
automated parking solutions for airports and other operators of large parking facilities. Federal APD
has developed and deployed parking systems at 95 airports throughout the world.

4.

The Airport is a joint airport board organized pursuant to the laws of Texas and maintains its

principal place of business in Texas. For purposes of 28 U.S.C. § 1332, the Airport is a citizen of

Texas.
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5.

The Airport operates the Dallas/Fort Worth International Airport, which is among the largest
and busiest airports in the world.

JURISDICTION AND VENUE
6.

Pursuant to 28 U.S.C. § 1332, this Court has jurisdiction of the subject matter of this action
because Federal APD and the Airport, for purposes of Section 1332, are citizens of different states
and the amount in controversy, exclusive of interest and costs, exceeds $75,000.00.

7.

This Court has jurisdiction over the Airport because the Airport is a governmental body
organized under the laws of Texas, maintains its principal place of business in Texas, regularly
conducts business in Texas, and has an agent for service of process in Texas.

8.

Pursuant to 28 U.S.C. § 1391, venue lies in this district because the Airport is located in
Dallas and Tarrant Counties, which are contained within this district, because a substantial part of
the events and omissions giving rise to this action occurred in Dallas and Tarrant Counties, and
because the Airport is subject to personal jurisdiction in this district.

FACTUAL BACKGROUND
Contract between Federal APD and the Airport for an Automated Parking System
9.

The Airport owns and operates a number of parking facilities for use by its patrons,

employees, and other persons conducting business at Airport facilities. To procure a system to

control access to these parking facilities and to control revenues collected from these parking
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facilities, the Airport solicited bids in 2001 for the design, manufacture, and deployment of an
automated parking system ("APS"). Federal APD submitted a bid, and the Airport ultimately
awarded the project to Federal APD.

10.

In September 2002, Federal APD and the Airport entered into a contract for the design,
manufacture, and deployment of the APS (the "Contract"). The terms of the Contract are
memorialized in several written documents, including the Contract for Automated Parking System,
the Automated Parking System Functional Specifications, and the Contract General and Special
Provisions, true and correct copies of which are attached hereto as Exhibits A, B, and C. From time
to time, Federal APD and the Airport entered into change orders, which amended the terms of the
Contract, true and correct copies of which are attached hereto as Exhibits D, E, F, G, H, I, and J.

11.

The Contract sets forth the functionality and performance characteristics for the APS,
although these requirements are stated with varying degrees of specificity. The most essential
functionality and performance characteristics required by the Contract are:

(A) That the APS control access to parking facilities with automated gates in entrance

and exit lanes;

(B) That the APS allow vehicles to enter parking facilities in several ways, including

with a ticket provided to the vehicle operator at the time of entry or by use of an

automated vehicle identification ("AVI") tag provided to the vehicle by the Airport

or others;

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(C) That the APS allow vehicles to exit parking facilities after making payment in one of
several ways, including with cash, by credit card, or by a charge to an AVI account,
and allow certain vehicles to exit parking facilities without any payment;

(D) That the APS use license plate recognition technology to identify vehicles entering
and exiting parking facilities and to correlate entrance and exit traversals;

(E) That the APS accurately collect extensive data about vehicle access to parking
facilities and revenues collected from the parking facilities; and

(F) That the APS accurately generate certain reports derived from the data collected by
the APS.

12.

The Contract requires the development of the APS according to a particular sequence, and
the Contract provides that the Airport is required to pay certain amounts to Federal APD upon
Federal APD achieving certain milestones in the development of the APS. In particular, the Contract
provides that Federal APD is entitled to certain payments upon achieving each of the following
milestones:

(A) Mobilization of project resources;

(B) Successful completion of a conceptual design review;

(C) Successful completion of a critical design review;

(D) Successful completion of a software development review;

(E) Successful completion ofa factory demonstration test of the APS and its components;

(F) Delivery to the Airport of certain consumables, including tickets, receipt paper,

toner, and plastic cards for encoding;

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(G) Successful completion of a field test of individual APS components installed at the
Airport parking facilities;

(H) Successful completion of a systems test of the entire APS;

(1) Successful completion of a 72-hour system test;

(J) Successful completion of a 90-day system test, completion of certain training, and

delivery to the Airport of certain documentation; and

(K) Final acceptance by the Airport of the APS.

13.

The Contract, as amended by several change orders, purports to require the completion of the
APS development project by April 14, 2005.

14.

The Contract permits the Airport to make certain changes to the functionality and
performance characteristics required of the APS without additional cost to the Airport and without
extending the time for completion of the APS development project, but only during the design
phases of the APS development project.

15.

The Contract permits the Airport, for its own convenience, to suspend or delay the
development of the APS. To the extent that the Airport suspends or delays the development of the
APS, however, the Contract requires the Airport to extend the time for Federal APD to complete the
development of the APS and requires the Airport to pay Federal APD additional compensation for

the costs it incurs as a result of the suspension or delay.

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16.

The Contract permits the Airport to request Federal APD to perform additional work not

expressly required by the Contract, but within the general scope of the Contract. To the extent that

the Airport requires Federal APD to perform such additional work, the Contract requires the Airport

to extend the time for Federal APD to complete the development of the APS, if additional time is

required as a result of the additional work requested. The Contract also requires the Airport to pay

Federal APD additional compensation for such additional work.

The Design Phases of the APS Project

17.

Federal APD commenced the work required by the Contract in 2002.

18.

By June 2004, Federal APD successfully achieved, and the Airport accepted, the following

milestones under the Contract:

(A)
(B)
(C)
(D)

Mobilization of project resources;

Successful completion of a conceptual design review;
Successful completion of a critical design review; and
Successful completion of a software development review.

19.

The Airport paid to Federal APD the amounts due for achieving each of the milestones

described in paragraph 18.
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20.

In June 2004, Federal APD and the Airport executed Change Order 3, which includes a
mutual release of all claims under the Contract including claims for delay and changes in the scope
of work, arising on or before June 6, 2004.

The Factory Demonstration Test Phase of the APS Project
21.

After June 2004, Federal APD successfully completed the factory demonstration test required
by the Contract.

22.

Federal APD was entitled at that time to the payment specified by the Contract for achieving
the factory demonstration test milestone and to move forward to the next phase of the APS project.
23.

The Airport unreasonably refused to accept the completion of the factory demonstration test
at that time.

24.

Notwithstanding that Federal APD had substantially performed its obligations under the
Contract with respect to the factory demonstration test, the Airport demanded, as conditions
precedent for its acceptance of the factory demonstration test and its authority for Federal APD to
move forward to the next phase of the project:

(A) That Federal APD allow Airport personnel to participate in an unscripted, free-form,

hands-on demonstration of the APS; and

(B) That Federal APD complete another factory demonstration test in its entirety.

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25.

The Contract did not require Federal APD to perform any of the work demanded by the
Airport and described in paragraph 24.

26.

Federal APD accommodated the requests described in paragraph 24, although doing so
required Federal APD to incur substantial additional expense and substantially delayed the
completion of the APS project.

27.

The Airport never compensated Federal APD for the additional costs it incurred as a result of
the additional work required, and the delay caused, by the Airport as described in paragraphs 24 and
26. Notwithstanding the delay caused by the Airport, the Airport also never agreed to extend the
time for Federal APD to complete the APS project.

28.

Following the hands-on demonstration demanded by the Airport and the repeat of the factory
demonstration test in its entirety, the Airport belatedly acknowledged in January 2005 that Federal
APD had achieved the factory demonstration test milestone and subsequently paid to Federal APD
the amount to which it was entitled under the Contract for achieving this milestone.

The Field Test Phase of the APS Project
29.

After January 2005, the Airport authorized Federal APD to proceed with the next phase of

the APS development project, field testing, in a limited number of lanes at Airport parking facilities.

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30.

Federal APD successfully completed the field test required by the Contract for the initial set
of lanes, and Federal APD was entitled at that time to move forward with additional field tests in the
remaining lanes.

31.

The Airport unreasonably refused to accept the completion of the field test for the initial set
of lanes at that time.

32.

Notwithstanding that Federal APD had substantially performed its obligations under the
Contract with respect to the field test for the initial set of lanes, the Airport demanded, as conditions
precedent for its acceptance of the field test for the initial set of lanes and its authority for Federal
APD to move forward with additional field tests in the remaining lanes:

(A) That Federal APD repeat the field test for the initial set of lanes in its entirety on

several occasions;

(B) That Federal APD include certain items, such as reports reviews, in each field test;

(C) That Federal APD perform additional work, such as the development and delivery of

a comprehensive data dictionary; and
(D) That Federal APD accept certain changes to the functionality and performance
required of the APS, including with respect to reporting functionality, and modify the
APS accordingly.
33,
The Contract did not require Federal APD to perform any of the work demanded by the

Airport and described in paragraph 32.

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34.

Federal APD accommodated many of the requests described in paragraph 32, although doing
so required Federal APD to incur substantial additional expense and substantially delayed the
completion of the APS project.

35.

The Airport never compensated Federal APD for the additional costs it incurred as a result of
the additional work required, and the delay caused, by the Airport as described in paragraphs 32 and
34. Notwithstanding the delay caused by the Airport, the Airport also never agreed to extend the
time for Federal APD to complete the APS project.

36.

Even after Federal APD performed the additional work required by the Airport, including by
conducting three additional field tests for the initial set of lanes, the Airport refused to acknowledge
that Federal APD had successfully completed the field test for the initial set of lanes. Consequently,
the Airport wrongly refused to permit Federal APD to complete the field tests for the remaining
lanes or to move forward to the next phase of the APS project.

37.

Federal APD would have achieved the field test milestone, and Federal APD would have

been entitled to payment for that Contract milestone, if the Airport had not hindered and delayed

Federal APD in the completion of the field test.

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Live Testing
38.

After the fourth field test for the initial set of lanes, the Airport demanded in August 2006
that Federal APD, as a condition precedent for moving forward to the next phase of the APS project,
conduct "live testing" in certain lanes at the Airport parking facilities.

39.
The Contract does not contemplate, much less require, such "live testing."
40.

Nevertheless, Federal APD accommodated the request described in paragraph 38, although
doing so required Federal APD to incur substantial additional expense and substantially delayed the
completion of the APS project.

41.

The Airport never compensated Federal APD for the additional costs it incurred as a result of
the additional work required, and the delay caused, by the Airport as described in paragraphs 38 and
40. Notwithstanding the delay, the Airport also never agreed to extend the time for Federal APD to
complete the APS project.

42.

By August 2007, the Airport acknowledged that Federal APD successfully had completed the

"live testing" requirement that the Airport had imposed.
43.
Notwithstanding this acknowledgement, and notwithstanding that the Airport had unilaterally

imposed this "live testing" as a substitute for further field tests, the Airport wrongly refused to

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acknowledge that the successful completion of "live testing" marked the achievement of the field test
milestone.
44,

Federal APD is entitled to payment under the Contract for achieving the field test milestone,
but the Airport has refused to make such payment.

AVI Development
45.

The Contract originally required Federal APD, as a part of the APS project, to develop and
deploy AVI technology that was integrated and compatible with both the APS and the AVI computer
network operated by the North Texas Tollway Authority ("NTTA"). By March 2005, Federal APD
had completed much of the work required to develop such AVI technology.

46.

In March 2005, the Airport, for its own convenience, directed Federal APD to suspend work
on the development of the AVI technology. In December 2005, Federal APD and the Airport
executed Change Order 5, which removed certain and substantial AVI development work from the
scope of the Contract.

47.

Even after the Airport suspended further AVI development work in March 2005, and even
after the December 2005 change order, the Airport continued to insist that completion of AVI
development remained a condition precedent to completion of the APS project. For instance,
following the fourth field test for the initial set of lanes, the Airport demanded the completion and

installation of AVI technology in certain lanes (which would require the completion of the AVI

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development work) before "live testing" could commence, notwithstanding that the Airport had
directed Federal APD to suspend its AVI development work.
48.

The Airport's inconsistent and changing demands regarding AVI development work further

delayed the APS project and caused Federal APD to incur substantial additional expense.
49.

In July 2007, Federal APD and the Airport executed Change Order 7 requiring Federal APD
to resume certain work relating to AVI development. The Airport, however, demanded that Federal
APD perform additional work, beyond the scope of the Contract and this change order, as a
condition precedent to completing the work required by the change order.

50.

For instance, the NTTA had substantially changed its network interface during the time that
the Airport had suspended further AVI development work by Federal APD. As a result, some
aspects of the AVI technology that Federal APD had developed prior to the March 2005 suspension
no longer were compatible with the NTTA network. Although the Contract, including Change Order
7, did not require Federal APD to perform additional work to modify the AVI technology it
previously had developed to conform with the changes to the NTTA network interface, the Airport
demanded that Federal APD perform such additional work.

51.

Federal APD accommodated the requests described in paragraphs 49 and 50, although doing

so required Federal APD to incur substantial additional expense and substantially delayed the

completion of the APS project.

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52.

The Airport never compensated Federal APD for the additional costs it incurred as a result of
the additional work required, and the delay caused, by the Airport as described in the preceding
paragraph. Notwithstanding the delay, the Airport also refused to extend the time for Federal APD
to complete the APS project or the work required by Change Order 7.

53.

At least by April 2008, Federal APD had substantially performed its obligations under

Change Order 7 and was entitled to certain payments under Change Order 7.
54.

The Airport refused to pay Federal APD the amounts to which it was entitled under Change

Order 7.

The Airport Required Federal APD to Perform Other Work Beyond the Scope of the Contract
and Delayed the Completion of the APS Project

55.

Besides the matters described in the preceding paragraphs, the Airport otherwise required
Federal APD to perform substantial work beyond the work required by the Contract, and the Airport
otherwise delayed the completion of the APS project.

56.

Federal APD accommodated the requests described in paragraph 55, although doing so

required Federal APD to incur substantial additional expense and substantially delayed the

completion of the APS project.

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57.

The Airport never compensated Federal APD for the additional costs it incurred as a result of
the additional work required, and the delay caused, by the Airport as described in paragraphs 55 and
56. Notwithstanding the delay, the Airport also never agreed to extend the time for Federal APD to
complete the APS project.

The Airport's Termination of the Contract
58.

The Contract authorizes the Airport to terminate the Contract for default, if Federal APD has
materially breached the Contract and fails to cure its breach within thirty days of notice to do so, or
for the convenience of the Airport. Ifthe Airport purports to terminate the Contract for default, but
Federal APD was not, in fact, in default at the time of the termination, the Contract provides that the
termination constitutes a termination for the convenience of the Airport. If the Airport terminates
the Contract for its own convenience, Federal APD is entitled to payment of certain amounts under
the Contract, including its costs incurred for work performed prior to the date of the termination, a
reasonable profit on such work, and the costs incurred by Federal APD in the termination of
subcontracts.

59.

On March 10, 2008, the Airport transmitted a notice of default and demand for cure to

Federal APD, a true and correct copy of which is attached hereto as Exhibit K.
60.

Federal APD was not in default of the Contract on March 10, 2008 or at any time thereafter.

To the extent that Federal APD was in default on March 10, 2008, it cured such default within thirty

days of the notice of default and demand for cure.

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61.

In April 2008, the Airport notified Federal APD that the Airport intended to terminate the
Contract for default, and the Airport instructed Federal APD to incur no additional costs in
connection with the Contract.

62.

The Airport has constructively terminated the Contract.
63.

Federal APD has substantially performed its obligations under the Contract.
64.

All conditions precedent to the filing of this action, including those described in Section 29

of the Contract for Automated Parking System, have been satisfied.
COUNT ONE
BREACH OF CONTRACT
FOR FAILURE TO PAY AMOUNTS DUE UNDER THE CONTRACT
65.
Federal APD incorporates by reference and restates the allegations contained in paragraphs 1
through 64.
66.
The Contract is a valid and enforceable agreement between Federal APD and the Airport.
67.
Federal APD substantially performed its obligations under the Contract prior to the

termination of the Contract by the Airport.

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68.

The Airport hindered and delayed Federal APD from completing the field test phase of the
APS project.

69.

The Airport's conduct wrongly prevented Federal APD from being able to complete its
performance of the Contract. But for the hindrance and delay caused by the Airport, Federal APD
would have successfully completed the field test phase of the APS project and all of its remaining
work under the Contract.

70.
Federal APD is entitled to payment under the Contract for achieving the field test milestone.
71.

Federal APD is entitled to payment under the Contract for the contractual value of all the

work it has performed to date, less payments already made by the Airport under the Contract.
72.
Federal APD is entitled to payment under the Contract for the entire value of the Contract,
less payments already made by the Airport under the Contract.
73.
Federal APD substantially performed its obligations under Change Order 7.
74.
Federal APD is entitled to payment under the Contract for completion of its obligations under

Change Order 7.

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75.
The Airport has refused to pay Federal APD the amounts to which it is entitled and described
in paragraphs 70, 71, 72, and 74.
76.
By refusing to pay Federal APD amounts to which it is entitled under the Contract, the
Airport has breached the Contract.
77,
As a proximate result of the breach of the Contract by the Airport, Federal APD has incurred
damages in excess of $8,500,000.

COUNT TWO
BREACH OF PROMPT PAY OBLIGATION

78.
Federal APD incorporates by reference and restates the allegations contained in paragraphs 1
through 64.
79.
Federal APD is entitled to payment under the Contract of certain amounts for which Federal
APD has transmitted invoices to the Airport.
80.

The Airport did not pay the amounts described in paragraph 79 within 46 days of the
completion of the work entitling Federal APD to such payments and/or the invoice for such work.
81.

In addition to its other remedies, Federal APD is entitled to recover the amounts described in

paragraph 79, as well as interest and attorneys' fees pursuant to Tex. Govt. Code § 2251.001 et seq.

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COUNT THREE
BREACH OF CONTRACT
FOR FAILURE TO EQUITABLY ADJUST CONTRACT AND PAY COMPENSATION
FOR ADDITIONAL WORK REQUIRED BY THE AIRPORT AND FOR DELAY
82.
Federal APD incorporates by reference and restates the allegations contained in paragraphs 1
through 64.
83.
The Contract is a valid and enforceable agreement between Federal APD and the Airport.
84.
Federal APD substantially performed its obligations under the Contract prior to the
termination of the Contract by the Airport.
85.
The Airport required Federal APD to perform additional work not required by the Contract in
connection with the APS project, and Federal APD performed such work.
86.
Federal APD incurred substantial expense as a result of performing the work described in
paragraph 85.
87.
Federal APD is entitled to fair and reasonable compensation for performing additional work
requested by the Airport but not required by the Contract.
88.
The Airport hindered and delayed Federal APD in the completion of the APS project.

89.

Federal APD incurred substantial expense as a result of the delay described in paragraph 88.

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90.

Federal APD is entitled to compensation for its costs incurred as a result of delay caused by
the Airport.

91.

The Airport has refused to equitably adjust the Contract and to pay Federal APD the
compensation to which it is entitled for performing work not required by the Contract and for delay
caused by the Airport.

92.

By refusing to equitably adjust the Contract and to pay Federal APD amounts to which it is

entitled under the Contract, the Airport has breached the Contract.
93.

As a proximate result of the breach of the Contract by the Airport, Federal APD has incurred
damages in excess of $10,000,000.

94.

The damages described in paragraph 93 for the failure of the Airport to equitably adjust the
Contract and pay compensation to Federal APD for additional work not required by the Contract and
for delay are in addition to, and independent of, the damages described in Count One of this
Complaint for the failure of the Airport to pay amounts due Federal APD under the Contract for

work required by the Contract.

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COUNT FOUR
BREACH OF CONTRACT
FOR FAILURE TO PAY AMOUNTS DUE
UPON TERMINATION FOR CONVENIENCE
95.
Federal APD incorporates by reference and restates the allegations contained in paragraphs 1
through 64.
96.
The Contract is a valid and enforceable agreement between Federal APD and the Airport.
97.
Federal APD substantially performed its obligations under the Contract prior to the
termination of the Contract by the Airport.
98.
The Airport has terminated the Contract for its own convenience.
99.
Federal APD is entitled under the Contract to certain payments in the event of a termination
for convenience, including:
(A) _ Its costs incurred for work performed prior to the date of termination;
(B) A reasonable profit on such work;
(C) Its costs incurred as a result of terminating subcontracts; and
(D) — Certain other costs incurred by Federal APD in connection with the termination.
100.

The Airport has refused to pay Federal APD the amounts to which it is entitled as a result of

the termination for convenience.

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101.
By refusing to pay Federal APD amounts to which it is entitled under the Contract, the
Airport has breached the Contract.
102.
As a proximate result of the breach of the Contract by the Airport, Federal APD has incurred
damages in excess of $21,000,000.
PRAYER FOR RELIEF
WHEREFORE, Federal APD respectfully prays for a judgment, against the Airport and in
favor of Federal APD, on each count of this Complaint for:
(A) _ All of its damages, in an amount to be proven at trial;
(B) _ Pre- and post-judgment interest as allowed by law;
(C) Its reasonable attorneys' fees;
(D) _ Its costs; and

(E) Such other and further relief as is appropriate.

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Respectfully submitted,
a yf

/Robert Hofitna
Texas Bar No. 09788200

GARDERE WYNNE SEWELL LLP
1601 Elm Street, Suite 3000

Dallas, Texas 75201

Telephone: (214) 999-4707

Facsimile: (214) 999-3707

Ronald T. Coleman, Jr.

Georgia Bar No. 177655

Keith R. Blackwell

Georgia Bar No. 024493

Melissa M. Burton

Georgia Bar No. 404685

(applications for admission pro hac vice pending)
PARKER HUDSON RAINER & DOBBS LLP
1500 Marquis Two Tower

285 Peachtree Center Avenue, N.E.

Atlanta, Georgia 30303

Telephone: 404-523-5300

Facsimile: 404-522-8409

Counsel for Federal APD Incorporated

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